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                           UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW MEXICO




       In re: Shale Oil Antitrust Litigation        Case No. 1:24-md-03119-MLG-LF

       This Document Relates to All Actions.




 NOTICE OF EXTENSION OF TIME FOR PLAINTIFFS’ RESPONSE TO STATE OF
KANSAS’S MOTION TO INTERVENE AND MEMORANDUM OF LAW IN SUPPORT

       Co-Lead Counsel for Plaintiffs, including City of San Diego, City of San Jose, City of

Baltimore, Ford County, and County of San Mateo (“Plaintiffs”), hereby submits this Notice of

Extension of Time for Plaintiffs to respond to the State of Kansas’s Motion to Intervene and

Memorandum of Law in Support (Docs. 153, 153-1), pursuant to D.N.M.LR-Civ. 7.4(a). Plaintiffs

notify the Court that the State of Kansas agreed via email on April 10, 2025 to a fourteen (14) day

extension of the deadline to respond, from April 22, 2025 to May 6, 2025. Additionally, parties

agreed via email on April 10, 2025 to a fourteen (14) day extension for the State of Kansas to

reply, from May 20, 2025 to June 3, 2025.

Dated: April 11, 2025

                                                                Respectfully submitted,

                                                                /s/ Karin B. Swope
                                                                Karin B. Swope
                                                                Cotchett, Pitre & McCarthy
                                                                Interim Co-Lead Counsel for
                                                                Plaintiffs and the Putative Class
                                                                and Counsel for City of San Jose
                                                                and County of San Mateo



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Dated: April 11, 2025
                                              Christopher A. Dodd
Karin B. Swope (pro hac vice)                 DODD LAW OFFICE, LLC
Thomas E. Loeser (pro hac vice)               500 Marquette Avenue NW, Suite 1330
Vara G. Lyons (pro hac vice)                  Albuquerque, NM 87102
Ellen J. Wen (pro hac vice)                   Tel: (505) 475-2932
Jacob M. Alhadeff (pro hac vice)              chris@doddnm.com
COTCHETT, PITRE, & McCARTHY, LLP
1809 7th Avenue, Suite 1610                   Interim Liaison Counsel for Plaintiffs and
Seattle, WA 98103                             Putative Class
Tel: (206) 778-2123
kswope@cpmlegal.com                           Patrick J. Coughlin (pro hac vice)
tloeser@cpmlegal.com                          Carmen Medici (pro hac vice)
vlyons@cpmlegal.com                           Daniel J. Brockwell (pro hac vice)
ewen@cpmlegal.com                             Isabella De Lisi (pro hac vice)
jalhadeff@cpmlegal.com                        SCOTT+SCOTT ATTORNEYS AT LAW LLP
                                              600 W. Broadway, Suite 3300
Joseph W. Cotchett (pro hac vice)             San Diego, CA 92101
Adam Zapala (pro hac vice)                    Tel: (619) 233-4565
Vasti S. Montiel (pro hac vice)               pcoughlin@scott-scott.com
840 Malcolm Road                              cmedici@scott-scott.com
Burlingame, CA 94010                          dbrockwell@scott-scott.com
Tel: (650) 697-6000                           idelisi@scott-scott.com
jcotchett@cpmlegal.com
azapala@cpmlegal.com                          Patrick McGahan (pro hac vice)
vmoniel@cpmlegal.com                          Michael Srodoski (pro hac vice)
                                              SCOTT+SCOTT ATTORNEYS AT LAW LLP
Michael Dell’Angelo (pro hac vice)            156 S Main Street
Candice Enders (pro hac vice)                 P.O. Box 192
BERGER MONTAGUE PC                            Colchester, CT 06415
1818 Market Street                            Tel: (860) 537-5537
Suite 3600                                    pmcgahan@scott-scott.com
Philadelphia, PA 19103                        msrodoski@scott-scott.com
Tel: (215) 875-3080
mdellangelo@bm.net                            Karin E. Garvey (pro hac vice)
                                              SCOTT+SCOTT ATTORNEYS AT LAW LLP
Richard D. Schwartz                           230 Park Ave., 24th Floor
BERGER MONTAGUE PC                            New York, NY 11069
1720 Division                                 Tel: (212) 223-6444
Chicago, IL 20622                             kgarvey@scott-scott.com
Tel: (773) 257-0255
rschwartz@bm.net                              Interim Co-Lead Counsel for Plaintiffs and the
                                              Putative Class



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/s/ Nicholas Smith
Nicholas C. Smith, D.N.M. Bar No. 25-77
  Assistant Attorney General
Melanie S. Jack, D.N.M. Bar No. 25-85
  First Assistant Attorney General
Adam T. Steinhilber, D.N.M. Bar No. 25-83
  Assistant Solicitor General
OFFICE OF ATTORNEY GENERAL
120 SW 10th Avenue, 2nd Floor
Topeka, Kansas 66612
Phone: (785) 296-3751
Fax: (785) 291-3699
Melanie.Jack@ag.ks.gov
Nicholas.Smith@ag.ks.gov
Adam.Steinhilber@ag.ks.gov

Attorneys for State of Kansas
Proposed Defendant-Intervenor




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on April 11, 2025, I caused to be served a true and correct copy of the

foregoing document with the Clerk of this Court using the CM/ECF system, which will send a

notice of electronic filing to counsel of record receiving electronic notification.



                                                               /s/ Karin B. Swope
                                                               Karin B. Swope




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